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             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                       OFFICE OF SPECIAL MASTERS
                                              No. 11-50V
                                      Filed: September 26, 2014
                                         (Not to be published)


*************************
NICOLE BROWN and DOMAH BROWN,                               *
as parents and natural guardians of                         *
A.B., a minor,                                              *
                                                            *        Stipulation; DTaP; HiB; MMR;
                          Petitioners,                      *        pneumococcal;
                                                            *        Streptococcal A infection;
        v.                                                  *        Streptococcal toxic shock
                                                            *        syndrome; multi-organ failure
                                                            *
SECRETARY OF HEALTH                                         *
AND HUMAN SERVICES,                                         *
                                                            *
                    Respondent.                             *
****************************
Anne Toale, Esq., Maglio Christopher and Toale, Sarasota, FL for petitioner.
Lara Englund, Esq., U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION ON JOINT STIPULATION1

Gowen, Special Master:

        Nicole Brown and Domah Brown, as parents and natural guardians of A.B., a
minor, [“petitioners”] filed a petition for compensation under the National Vaccine Injury
Compensation Program2 on January 18, 2011. Petitioners allege that A.B. suffered
Streptococcal A infection, Streptococcal toxic shock syndrome, and multi-organ system
failure that was caused in fact by the diphtheria-tetanus-acellular pertussis [DTaP],

1
  Because this unpublished decision contains a reasoned explanation for the action in this case, I intend
to post this decision on the United States Court of Federal Claims' website, in accordance with the E-
Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44
U.S.C. § 3501 note (2006)). In accordance with Vaccine Rule 18(b), a party has 14 days to identify and
move to delete medical or other information, that satisfies the criteria in 42 U.S.C. § 300aa-12(d)(4)(B).
Further, consistent with the rule requirement, a motion for redaction must include a proposed redacted
decision. If, upon review, I agree that the identified material fits within the requirements of that provision, I
will delete such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2006).
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hemophilus influenzae type b[Hib], pneumococcal and measles-mumps-rubella [MMR]
vaccines he received on or about January 16, 2008. See Stipulation, filed September
25, 2014, at ¶¶ 2, 4. Further, petitioners allege that A.B. experienced residual effects of
his injury for more than six months. Id. at ¶ 4. Respondent denies that the DTaP, Hib,
pneumococcal and MMR vaccines caused any of A.B.’s injuries or his current condition.
Id. at ¶ 6.

       Nevertheless, the parties have agreed to settle the case. On September 25,
2014, the parties filed a joint stipulation agreeing to settle this case and describing the
settlement terms.

       Respondent agrees to issue the following compensation payments:

          (a) A lump sum of $200,000.00, in the form of a check payable to
              petitioners, Nicole and Domah Brown, as guardian(s)/conservator(s)
              of the estate of A.B. for the benefit of A.B. No payment shall be
              made until petitioners provide respondent with documentation
              establishing that they have been appointed as the
              guardian(s)/conservator(s) of A.B.’s estate.

              The amount set forth in paragraph (a) represents compensation for
              all damages that would be available under § 300aa-15(a), except as
              set forth in paragraphs (b) and (c) below.

          (b) A lump sum of $135,385.54, which amount represents reimbursement
              of a Commonwealth of Virginia Medicaid lien, in the form of a check
              payable jointly to petitioners, Nicole and Domah Brown, and

                                     Commonwealth of Virginia
                                  Department of Medical Assistance
                                            Suite 1300
                                       600 East Broad Street
                                        Richmond, VA 23219
                                     Attn: Donna R. Piacentini

              Petitioners agree to endorse this check to the Commonwealth of
              Virginia.

          (c) An amount sufficient to purchase an annuity contract described in
              paragraph 10 of the attached stipulation, paid to the life insurance
              company from which the annuity will be purchased [the “Life
              Insurance Company”].
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       The special master adopts the parties’ stipulation attached hereto, and awards
compensation in the amount and on the terms set forth therein. The clerk of the court is
directed to enter judgment in accordance with this decision.3


IT IS SO ORDERED.

                                                s/ Thomas L. Gowen
                                                Thomas L. Gowen
                                                Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party filing a notice
renouncing the right to seek review.
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